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                                                                                                 Principal, interest, and escrow, if any
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        ✔    No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
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 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


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    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



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 8    /s/Cynthia A Thomas
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    05/12/2020
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        Thomas, Cynthia A                                                          VP Loan Documentation
                                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name           Middle Name      Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                  Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                       State      ZIPCode



                     800-274-7025                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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          Case 2:19-bk-57495         Doc 50       Filed 05/12/20 Entered 05/12/20 07:49:49                    Desc Main
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                      UNITED STATES BANKRUPTCY COURT           Page 3 of 7

                                                        Southern District of Ohio


                                                   Chapter 13 No. 1957495
                                                   Judge: Jeffery P. Hopkins

In re:
Kevin L Cannon & Stacey L Cannon
                                          Debtor s 

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before May 13, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    Kevin L Cannon & Stacey L Cannon
                                    10482 State Route 669

                                    Roseville OH 43777



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                                    N/A




Debtor’s Attorney:                 %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Kenneth L Sheppard, Jr
                                    Sheppard Law Offices, Co., L.P.A.
                                    3535 Fishinger Blvd. Suite 190

                                    Hilliard OH 43026


                                   %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                   N/A




Trustee:                           %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Interim Faye English

                                    130 East Wilson Bridge Road Suite 200

                                    Worthington OH 43085

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                                                           /s/Cynthia A Thomas
                                                           VP Loan Documentation
                                                           Wells Fargo Bank, N.A.
Case 2:19-bk-57495                   Doc 50            Filed 05/12/20 Entered
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                                                                                   Review Statement                                             Desc Main
                                     PO Box 14547      Document     Page 4For
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                                                                              informational
                                                                          Statement Date:
                                                                                            purposes only
                                                                                                                                               May 6, 2020
                                     Des Moines, IA 50306-4547
                                                                                            Loan number:
                                                                                            Property address:
                                                                                                10482 STATE ROUTE 669
                                                                                                ROSEVILLE OH 43777



                                                                                            Customer Service
                                                                                                Online                           Telephone
                                                                                                wellsfargo.com                   1-800-340-0473
              KEVIN L CANNON
                                                                                                Correspondence                   Hours of operation
              STACEY L CANNON                                                                   PO Box 10335                     Mon - Fri 7 a.m. - 7 p.m. CT
              10482 STATE ROUTE 669                                                             Des Moines, IA 50306
              ROSEVILLE OH 43777-9623                                                           To learn more, go to:
                                                                                                wellsfargo.com/escrow


                                                                                                   We accept telecommunications relay service calls



    PLEASE NOTE: If you are presently seeking relief (or have previously been granted
    relief) under the United States Bankruptcy Code, this statement is being sent to you
    for informational purposes only. The summaries below are based on the terms of the
    loan and are provided for informational purposes only.

    These amounts are governed by the terms of the loan unless otherwise reduced by an
    order of the bankruptcy court. Because the amounts billed for the escrow items can
    change over time, we review the escrow account at least once per year to ensure there
    will be enough money to make these payments. Once the review is complete, we send
    the escrow review statement, also known as the escrow account disclosure statement.
                                                                                             The escrow account has an overage of
    Here’s what we found:                                                                                  $89.77
      • Required minimum balance: The escrow account balance is projected to be
         above the required minimum balance. This means there is an overage.

    If payments required under the bankruptcy plan have not been made, any escrow
    overage will be held in the escrow account.

      •   Payments: As of the July 1, 2020 payment, the contractual portion of the
          escrow payment increases.



      Part 1 - Mortgage payment
       New Payment                   The new total payment will be $902.75
                                      Previous payment through New payment beginning with
                                      06/01/2020 payment date   the 07/01/2020 payment

     Principal and/or interest                   $572.93                  $572.93                       No action required
     Escrow payment                             $328.24                   $329.82
                                                                                             Starting July 1, 2020 the new contractual
     Total payment amount                       $901.17                  $902.75             payment amount will be $902.75




    See Page 2 for additional details.
                                                                                                                                                  Page 2 of 3
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         Part 2 - Payment calculations
                                                  Page 5 of 7
     For the past review period, the amount of the escrow items was $3,882.56. For the coming year, we expect the amount paid from escrow to be
     $3,957.82.

     How was the escrow payment calculated?
     To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
     escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
     determine the escrow amount.

     The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
     through the date of the analysis.



     Escrow comparison

                                                                                                                                            New monthly
                                        07/18 - 06/19     08/18 - 07/19       07/19 - 05/20    07/20 - 06/21
                                                                                                                           # of               escrow
                                          (Actual)          (Actual)            (Actual)        (Projected)
                                                                                                                          months              amount

     Property taxes                          $1,448.07         $1,456.00          $1,442.47       $1,428.94        ÷         12       =           $119.08
     Property insurance                       $1,271.00         $1,271.00         $1,317.00        $1,317.00       ÷         12       =          $109.75
     Total taxes and insurance                $2,719.07        $2,727.00          $2,759.47       $2,745.94        ÷         12       =         $228.83
     Mortgage insurance                       $1,252.91         $1,250.56         $1,123.09        $1,211.88       ÷         12       =          $100.99

     Total escrow                             $3,971.98         $3,977.56         $3,882.56       $3,957.82                                      $329.82


     Projected escrow account activity over the next 12 months
     To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
     greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
     balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                       (Calculated in Part 3 - Escrow account projections
     Lowest projected escrow balance February, 2021                                  $547.43           table)

     Minimum balance for the escrow account†                              -          $457.66           (Calculated as: $228.83 X 2 months)


     Escrow overage                                                      =            $89.77


     †
      The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
     account, we add the yearly escrow payments, and divide by 12 (this amount does not include mortgage insurance). We take this amount and multiply
     it by 2 as allowed by state laws and/or the mortgage contract to determine the cash reserve.
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      Part 3 - Escrow account projections
     Escrow account projections from July, 2020 to June, 2021
                                             What we
                  Payments to                expect to                                                                   Projected escrow        Balance required
     Date           escrow                    pay out         Description                                                    balance              in the account
     Jun 2020                                                 Starting balance                                                 $1,462.73                   $1,372.96
     Jul 2020           $329.82                  $100.99      FHA Insurance                                                    $1,691.56                   $1,601.79
     Jul 2020              $0.00                   $37.59     PERRY COUNTY                                                     $1,653.97                   $1,564.20
     Jul 2020              $0.00                 $676.88      PERRY COUNTY                                                      $977.09                     $887.32
     Aug 2020           $329.82                  $100.99      FHA Insurance                                                    $1,205.92                   $1,116.15
     Sep 2020           $329.82                  $100.99      FHA Insurance                                                    $1,434.75                   $1,344.98
     Oct 2020           $329.82                  $100.99      FHA Insurance                                                    $1,663.58                   $1,573.81
     Nov 2020           $329.82                  $100.99      FHA Insurance                                                    $1,892.41                   $1,802.64
     Dec 2020           $329.82                  $100.99      FHA Insurance                                                    $2,121.24                   $2,031.47
     Dec 2020              $0.00                $1,317.00     ERIE                                                              $804.24                     $714.47
     Jan 2021           $329.82                  $100.99      FHA Insurance                                                    $1,033.07                    $943.30
     Feb 2021           $329.82                  $100.99      FHA Insurance                                                    $1,261.90                   $1,172.13
     Feb 2021              $0.00                   $37.59     PERRY COUNTY                                                     $1,224.31                   $1,134.54
     Feb 2021              $0.00                 $676.88      PERRY COUNTY                                                      $547.43                    $457.66
     Mar 2021           $329.82                  $100.99      FHA Insurance                                                     $776.26                     $686.49
     Apr 2021           $329.82                  $100.99      FHA Insurance                                                   $1,005.09                     $915.32
     May 2021           $329.82                  $100.99      FHA Insurance                                                    $1,233.92                   $1,144.15
     Jun 2021           $329.82                  $100.99      FHA Insurance                                                    $1,462.75                   $1,372.98

     Totals           $3,957.84                 $3,957.82



      Part 4 - Escrow account history
     Escrow account activity from July, 2019 to June, 2020
                           Deposits to escrow                   Payments from escrow                                                       Escrow balance
        Date      Actual      Projected Difference          Actual   Projected Difference                Description           Actual         Projected Difference
     Jul 2019                                                                                         Starting Balance         $1,168.40       $1,363.50        -$195.10
     Jul 2019        $0.00         $330.68     -$330.68        $0.00        $103.43       -$103.43    FHA Insurance            $1,168.40       $1,590.75       -$422.35

     Jul 2019        $0.00          $0.00         $0.00       $38.30          $38.30         $0.00    PERRY COUNTY              $1,130.10      $1,552.45       -$422.35

     Jul 2019        $0.00          $0.00         $0.00      $689.70        $689.70          $0.00    PERRY COUNTY               $440.40        $862.75        -$422.35

     Jul 2019        $0.00          $0.00         $0.00      $103.43             $0.00     $103.43    FHA Insurance              $336.97        $862.75        -$525.78

     Aug 2019      $326.80         $330.68       -$3.88        $0.00        $103.43       -$103.43    FHA Insurance              $663.77      $1,090.00        -$426.23

     Aug 2019        $0.00          $0.00         $0.00      $103.43             $0.00     $103.43    FHA Insurance              $560.34      $1,090.00        -$529.66

     Sep 2019        $0.00         $330.68     -$330.68        $0.00        $103.43       -$103.43    FHA Insurance              $560.34       $1,317.25        -$756.91

     Sep 2019        $0.00          $0.00         $0.00      $103.43             $0.00     $103.43    FHA Insurance              $456.91       $1,317.25       -$860.34

     Oct 2019        $0.00         $330.68     -$330.68        $0.00        $103.43       -$103.43    FHA Insurance              $456.91       $1,544.50      -$1,087.59

     Oct 2019        $0.00          $0.00         $0.00      $103.43             $0.00     $103.43    FHA Insurance              $353.48       $1,544.50      -$1,191.02

     Nov 2019        $0.00         $330.68     -$330.68      $103.43        $103.43          $0.00    FHA Insurance              $250.05       $1,771.75      -$1,521.70

     Nov 2019        $0.00          $0.00         $0.00     $1,317.00            $0.00   $1,317.00    ERIE                    -$1,066.95       $1,771.75     -$2,838.70

     Dec 2019        $0.00         $330.68     -$330.68        $0.00        $103.43       -$103.43    FHA Insurance           -$1,066.95      $1,999.00       -$3,065.95

     Dec 2019        $0.00          $0.00         $0.00        $0.00       $1,271.00     -$1,271.00   ERIE                    -$1,066.95        $728.00       -$1,794.95

     Dec 2019        $0.00          $0.00         $0.00      $100.99             $0.00     $100.99    FHA Insurance            -$1,167.94       $728.00       -$1,895.94

     Jan 2020        $0.00         $330.68     -$330.68        $0.00        $103.43       -$103.43    FHA Insurance            -$1,167.94       $955.25       -$2,123.19

     Jan 2020        $0.00          $0.00         $0.00      $100.99             $0.00     $100.99    FHA Insurance           -$1,268.93        $955.25       -$2,224.18

     Feb 2020        $0.00         $330.68     -$330.68        $0.00        $103.43       -$103.43    FHA Insurance           -$1,268.93       $1,182.50      -$2,451.43

     Feb 2020        $0.00          $0.00         $0.00       $37.59          $38.30        -$0.71    PERRY COUNTY             -$1,306.52      $1,144.20      -$2,450.72

     Feb 2020        $0.00          $0.00         $0.00      $676.88        $689.70        -$12.82    PERRY COUNTY            -$1,983.40        $454.50       -$2,437.90

     Feb 2020        $0.00          $0.00         $0.00      $100.99             $0.00     $100.99    FHA Insurance           -$2,084.39        $454.50       -$2,538.89

     Mar 2020      $992.04         $330.68      $661.36        $0.00        $103.43       -$103.43    FHA Insurance            -$1,092.35       $681.75       -$1,774.10

     Mar 2020        $0.00          $0.00         $0.00      $100.99             $0.00     $100.99    FHA Insurance            -$1,193.34       $681.75       -$1,875.09

     Apr 2020      $330.68         $330.68        $0.00        $0.00        $103.43       -$103.43    FHA Insurance             -$862.66        $909.00       -$1,771.66

     Apr 2020        $0.00          $0.00         $0.00      $100.99             $0.00     $100.99    FHA Insurance             -$963.65        $909.00       -$1,872.65

     May 2020     $2,300.12        $330.68     $1,969.44       $0.00        $103.43       -$103.43    FHA Insurance            $1,336.47       $1,136.25        $200.22
     (estimate)

     May 2020        $0.00          $0.00         $0.00      $100.99             $0.00     $100.99    FHA Insurance            $1,235.48       $1,136.25         $99.23

     Jun 2020      $328.24         $330.68        -$2.44     $100.99        $103.43         -$2.44    FHA Insurance            $1,462.73       $1,363.50         $99.23
     (estimate)

     Totals       $4,277.88     $3,968.16       $309.72     $3,983.55     $3,968.16         $15.39




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    reserved. NMLSR ID 399801 9/19
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